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                      IN THE UNITED STATES DISTRICT COURT FO

                                EASTERN DISTRICT OF VIRGINIA

                                      ALEXANDRIA DIVISION

   UNITED STATES OF AMERICA

          V.                                            Case No. 1:23-CR-91-CMH

  BENNIE EARL MAGEE,

          Defendant



                                      STATEMENT OF FACTS

        The United States and the defendant, BENNIE EARL MAGEE ("the defendant" or

 "MAGEE"), agree that at trial, the United States would have proven the following facts beyond a

 reasonable doubt with admissible and credible evidence, all dates listed being on or about the

 date indicated:


        1.         From at least in or around April 2020 through at least in or about March 2021, in

 the Eastern District of Virginia and elsewhere, the defendant did knowingly, in connection with

 the COVID-19 reliefloans applied for in the name ofthe business entities described below,devise

 and participate in a scheme and artifice to dcfi-aud financial institutions and the Small Business

 Administration ("SBA"), and to obtain money and property from them by means of materially
 false pretenses, representations, and promises concerning numbers of employees, quarterly and
 annual payroll expenses, annual revenues, and fictitious IRS tax returns and payroll documents

 submitted in support of said loan applications, all in violation of title 18, United States Code,
 Sections 1343 and 2.

        2.         MAGEE resided and worked in Manassas, in the Eastern District of Virginia,
 where he maintained a home office as well as a business location.

        3.         M.G. resided in Bealeton, Virginia, in the Western District of Virginia, but M.G.

                                                  1
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 worked in Manassas, Virginia,in the Eastern District of Virginia, with MAGEE. M.G. maintained

 a work desk in the home office of MAGEE in Manassas. M.G. also maintained another office in a

 business facility that MAGEE leased in Manassas. M.G. and MAGEE had a close professional and

 personal relationship. M.G. would take direction from MAGEE in connection with applications

 for Paycheck Protection Program ("PPP") and Economic Injury Disaster Loans ("EIDL")

 discussed below.

          4.     J.S. was MAGEE's brother-in-law. J.S. worked with MAGEE in Manassas and


 took direction from MAGEE in connection with applications for the PPP and EIDL loans discussed

 below.


           5.    At all relevant times, MAGEE controlled the following entities:

                a.     INFINITY SOLUTIONS GROUP LLC

                b.     UNITED SPORTSPLEX, LLC dba ELITE SPORTS
                c.     CLEVERFUZE,LLC
                d.     MINORITY OWNED BUSINESS COALITION,IIC.
                e.     UNITED BASKETBALL ASSOCIATION,LLC
                f.     BULL RUN CAPITAL INVESTMENTS,LLC
                g.     UNITED FUTSAL LEAGUE,LLC
                h.     BOUNCE MANIA,LLC

                i.     ONYX SPECIAL POLICE,LLC
                j.     UNITED HEALTH & REHABILITATION CENTER,LLC
                k.     GIFTED HANDS MOVING COMPANY,LLC

 Each ofthese entities was incorporated in the Commonwealth of Virginia and had as its registered

 agent either MAGEE, a holding company controlled by MAGEE (e.g., Bull Run Capital

 Investments, LLC),or an associate of MAGEE.Each maintained a business bank account at TD

 Bank,a federally insured financial institution as defined in 18 U.S.C. § 20,

          6.     M.G.controlled an entity called INFINITY COMMUNICATIONS SOLUTIONS,
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 LLC,("ICS") which had previously been incorporated in Ohio. Around May 2020, M.G. and

 MAGEB incoiporated ICS in the Commonwealth of Virginia. M.G. was the resident agent ofICS

 in Virginia. ICS maintained its business bank account at TD Bank.

         7.      J.S. was the registered agent for the following Virginia entities: GREEN TEAM

 LIMOUSINE, LLC; BLACK HAT TRANSPORTATION, LLC; SLAIBY7 INVESTMENTS,

 LLC; and HEALTH N WEALTH WORLD,LLC. All of these entities had bank accounts at TD

 Bank.


         8.      MAGEE had access to the books and records of ail the entities described in this

 Statement of Facts, He applied for PPP and EIDL loans for these entities and he knew that the

 numbers of employees, the identities of the employees, the payroll figures, the revenue figures,

 and the supporting documents he was providing to the lender and the U.S. Govemment in support

 of the ^plications for PPP and EIDL loans were materially inflated..

                  The Scheme and Artifice to Defraud audits Manner and Means

         9.      By at least early April 2020, MAGEE had learned about the Paycheek Protection
                                                            V


 Program("PPP")and Economic Injury Disaster Loans("EIDL"). He discussed applying for EIDL

 and PPP loans with M.G.and J.S. for their entities, as well as for his own entities.In total, MAGEE

 applied for EIDL and PPP loans for 17 distinct entities.

         10.     Under the Coronavirus Aid, Relief, and Economic Security Act("CARES Act"),

 the PPP endeavored to lend money to certain businesses for the primary purpose of providing

 money to fund and maintain payroll and cover other eligible business expenses. Under the terms

 ofthe PPP,all PPP loans were 100% guaranteed by the SBA. Being guaranteed by the SBA means

 that ifthere is a default on the loan, SBA will reimburse the lender for the remaining balance once

 certain conditions and requirements set forth in the SBA regulations have been satisfied. Thus,
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 fraud on the PPP can render the U.S. Government the ultimate victim.

         11.      To qualify for the loans, MAGEE knowingly and intentionally inflated and

 falsifred material information that he supplied to financial institutions and the SBA in connection

 with applying for EIDL and PPP loans. MAGEE vastly inflated the numbers of employees each

 entity claimed. MAGEE materially inflated quarterly and annual payroll figures for each entity.

 MAGEE created falsified payroll records, listing the tme names of real people without their

 consent, as employees of the entities, when, in truth and in fact, as he well knew, the majority of

 these individuals never worked for these entities. MAGEE inflated and falsified company revenues

 for each entity. MAGEE also created falsified IRS business tax returns for the entities applying for

 PPP loans,and falsely certified or caused to be falsely certified that such forms had been filed with

 the IRS.


         12.     For example, for the supporting documentation for several entities' PPP loan

 applications and loan forgiveness applications, MAGEE created numerous backdated, falsified

 IRS Forms 940 for Tax Year 2019, showing falsified and inflated wages paid to employees, as

 well as federal unemployment tax figures and calculations. Likewise, MAGEE created falsified

 IRS Tax Forms 941 for the first quarter of 2020("1Q2020") for each entity applying for a PPP

 loan. This form falsely listed grossly inflated numbers of employees for each entity, fictions and

 inflated gross wages, and falsified withholding taxes. In truth and in fact, these entities had filed

 no such returns with the IRS, and the information in the tax documents, including data about

 employees, wages, and taxes paid, was materially false. MAGEE submitted each one to the bank

 with the intent to influence its lending decision.

        13.      MAGEE would populate the loan applications and create the false documents and

 submit them to lenders and tlie SBA from his home office in Manassas, Virginia, using his
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 computer to apply online. Each online application described below eaused an interstate wire that

 was foreseeable to MAGEE,as the SBA servers were located in Iowa,and TD Bank in New Jersey.

         14.     Once the borrower's loan application was approved and the funds were disbursed,

 the SBA would pay the lender a processing fee of 1-5% based on the amount of the loan.

         15.     It was an object of the scheme to obtain EIDL and PPP loans for the purpose of

 investing in crypto currency ventures and to spend the money on other unauthorized purposes,

 although some ofthe money went toward payroll.

                      Fraudulent Loans MA GEE Preparedfor M.G.'s Entity

         16.     In 2019, M.G.'s entity,ICS,had little revenue and was essentially only employing

 M.G. The workload for ICS in 2019 and 2020 was comprised solely of intemal information

 technology related projects for a business controlled by MAGEE. M.G. stored materials at a

 warehouse leased by MAGEE to do work for MAGEE. Other than M.G., ICS had no employees

 and had no payroll in 2019 and 2020. ICS generated minimal annual revenues in both 2019 and

 2020.


         17.     By early April 2020,MAGEE approached M.G.and told M.G.that MAGEE could

 help him obtain capital for ICS through PPP loans.. MAGEE and M.G. knew that the programs

 were to provide funds to maintain the entity's payroll and for other authorized business expenses.

         18.     Working in his home office in Manassas, around April 3, 2020, MAGEE

 submitted an EIDL application for ICS which falsely listed five(5)employees and reported 2019

 gross revenues of$777,167, in an attempt to obtain an EDIL loan from the SBA in an amount of

 approximately $146,356. The SBA denied the EIDL application. The SBA did, however,give ICS

 a $5,000 EIDL grant based on the false representation that ICS had five employees ($1,000 per

 employee).
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        19.      On May 27,2020, MAGEE and M.G. caused ICS to be incorporated in Virginia.

        20.      On June 2, 2020, MAGEE filled out a "first draw" PPP loan application for ICS

 and submitted it to TD Bank with M.G.'s knowledge and approval. On the application form for

 ICS, MAGEE listed 26 employees and a monthly payroll of$290,318—^which both MAGEE and

 M.G. knew was false—^to obtain a PPP loan in the amount of$725,795. M.G. initialed next to the

 application's certifications and signed the loan application knowing the material information

 concerning employees and payroll contained in it was false.

        21.      To support the first draw loan application, MAGEE,with M.G.'s knowledge and

 approval, created false IRS business tax returns for ICS,to submit to TD Bank. For the Tax Year

 2019, MAGEE created a backdated IRS form 940, falsely representing that ICS had paid its

 employees $3,483,819.13. The form included false federal unemployment tax figures and

 calculations. M.G. signed the fonn, backdated it to January 3, 2020, all with loiowledge that

 MAGEE would submit it to the lender.

        22.       Corresponding to Tax Year 2019, MAGEE also created a falsified payroll

 summary for ICS where he listed the actual names of46 individuals he knew, claiming that they

 were on ICS's payroll when they in fact were not. Those names included MAGEE's children,

 extended family members, and other people with whom MAGEE interacted or knew. The

 spreadsheet listed false salaries, hours worked, gross pay, state and federal taxes, and social

 security and Medicare taxes supposedly withheld. It provided fictitious amoimts of net pay for

 each listed individual, and grand totals for all categories. MAGEE and M.G. submitted this

 document to the bank knowing it was fabricated and false.
        23.      MAGEE,with M.G.'s knowledge and approval, created a false IRS Tax Form 941

 for the first quarter of 2020("1Q2020"). This form falsely claimed ICS had paid 26 employees
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 $480,618.92 in gross wages, with $118,046.06 withheld in taxes. It fiirther falsely represented that

 ICS had paid $191,580.76 to the IRS in withholdings and other taxes for IQ 2020. M.G. signed

 this false tax form, which was dated April 10, 2020. In truth and in fact, ICS had filed no such

 return with the IRS,and the document,including its data about employees, wages, and taxes paid,

 was materially false. M.G. and MAGEE submitted it to the bank with the intent to influence its

 lending decision for the SBA-backed PPP loan.

         24.      Corresponding to 1Q202Q, MAGEE with the knowledge and approval of M.G.,

 also created a false quarterly payroll document for January-March 2020. In it, MAGEE listed 26

 employees using the names of real individuals without their consent, and falsely listed salaries,

 hours worked,gross pay,state and federal taxes,and social security and Medicare taxes supposedly

 withheld. It proyided fictitious amounts of net pay for each listed individual, and grand totals for

 all categories. MAGEE,with M.G.'s consent, submitted tliis document to the bank knowing it was

 fabricated and false.


         25.      TD Bank approved ICS for a PPP loan and on June 8, 2020, TD Bank deposited

 $725,795 into the business bank account of ICS, of which M.G. was tlie signatory. The account

 balance before this deposit was approximately $6,336. Four days later, M.G. wrote a check to

 MAGEE's company for $420,000. On June 23,2020,the SBA deposited $5,000 into the ICS bank

 account.


         26.      On March 16, 2021, MAGEE prepared and submitted a second round ("second

 draw")PPP loan application for ICS with M.G.'s knowledge and approval. This loan was also for

 $725,795. This application falsely listed 34 cjiiplu^'ecs axid elaiiiieU a iiiuiillily payroll of$290,318.

 The second draw loan application also contained a field for reduction in gross receipts. In fliis

 field, MAGEE falsely reported Second Quarter 2020 gross receipts of $783,792.90, which were
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 purportedly a reduction from Second Quarter of 2019 gross receipts, which MAGEE listed as
 $1,150,968.02. All ofthese numbers were false and were designed to quality for the second round

 of PPP loans by showing at least a 25% reduction in gross revenue from the same quarter of the

 previous year. M.G. signed and initialed this second draw loan application to TD Bank, knowing
 thai it contained material misrepresentations about ICS's employee headcount, payroll, and gross

 receipts.

        27.      In support ofthis second round ofPPP loan application for ICS, MAGEE created

 a document entitled "2ND QTR Profit & Loss Comparison." It was populated with falsified

 numbers for company income, cost of goods sold, gross profits, expenses, and net income, along
 with a fraudulent calculation ofpercent change,showing a 31.5% decline in ordinary income over

 comparable quarters from 2019 to 2020. M.G.reviewed this document that MAGEE presented to
 him, initialed key fake numbers, and signed it as "President/CEO" of ICS, dating it February 17,

 2021. MAGEE and M.G.also submitted this document to the bank via the intemet from MAGEE's

 home office with the intent to influence the bank's lending decision.

        28.      On March 22, 2021, TD Bank deposited $725,795 into ICS's business bank

 account. Two days later, M.G. wrote a check for $200,000 to MAGEE's company. MAGEE also
 had control over ICS's Intuit QuickBooks and payroll processing. MAGEE used this authority and

 access to pay one of his children and M.G. tens ofthousands of dollars through payroll.
         29.     MAGEE indicated to M.G. that he would be able to obtain forgiveness for the

 loans and told M.G. that he would handle applying for loan forgiveness. When M.G. started

 receiving default notices from T.D. Bank noting that the ICS loans were overdue, M.G. informed

 MAGEE,who indicated that he would take care of it.

         30.     M.G. lost some of s of ICS's PPP loan money in crypto currency ventures.
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  MAGEE lost in crypto some ofthe PPP money that ICS had paid Bull Run.

                Fraudulent EIDL andPPP Loans MAGEE Obtainedfor His Own Entities

          31.       Using the same manner and means as he had for M.G.s loans, MAGEE

  successfully applied for die following EIDL loans for his own entities with the SBA between

  March 30,2020,and September 1, 2020,as follows:

                                                                    2019 Gross Revenue
                Company                 Appl. Date # Emps.                               EIDL Loan Amt,'
                                                                          Claimed
INFINITY SOLUTIONS GROUP LLC             4/1/2020           15        $1,944,804.00         $160,000.00
UNITED SPORTSPLEX,LLC                    4/7/2020           17         $542,400.00          $160,000.00
MINORITY OWNED BUSINESS
COALITION
                                         5/13/2020         37         $7,593,540.00         $160,000.00
BULL RUN CAPITAL
                                         9/1/2020           13        $2,019,611.00         $150,000.00
INVESTMENTS,LLC
BOUNCE MANIA,LLC                         4/3/2020           6          $175,568.00          $74,000.00
GIFTED HANDS MOVING
                                         9/1/2020           18        $2,482,320.00         $150,000.00
COMPANY.LLC
                                                           Total EIDL(MAGEE Entities)       $854,000.00

         32.       The numbers of employees and gross revenues for each entity above were all

  materially inflated-in some cases, vastly inflated-causing the SBA to part with money as indicated

 in the table above,


         33.       Using the same manner and means as he had for M.G.'s loans, MAGEE

 successfully applied for the following first draw PPP loans on the dates indicated:

                       Company                                                Monthly    1st Draw PPP
                                                     Appl. Date     # Emps.
                                                                               Payroll     Loan Amt
   INFINITY SOLUTIONS GROUP LLC                         4/7/2020      6       $17,529       $43,822
   UNITED SPORTSPLEX.LLC                                4/27/2020     12       $6,931       $17,327
   CLEVERFUZE. LLC                                   4/28/2020        12      $60,764       $150,000
   MINORITY OWNED BUSINESS COALITION                    5/3/2020      18      $231,892      $570,000
   UNITED BASKETBALL ASSOCIATION.LLC                    5/6/2020      16      $63,597      $158,000
   BULL RUN CAPITAL INVESTMENTS,LLC                     5/8/2020      6       $85,789      $214,422
   UNITED FUTSAL LEAGUE,LLC                             6/8/2020      13      $159,508      $398,770
   BOUNCE MANIA LLC                                  6/23/2020        19      $70,715      $176,788
   ONYX SPECIAL POLICE.LLC                              1/30/2021     34      $131,566     $202,425


 'Amounts in this column include EIDL and EIDL advance (e.g., grant)for the relevant company.

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   UNITED HEALTH & REHABILITATION
                                                      4/7/2021          23     $64,129       $150,000
   CENTER.LLC
   GIFTED HANDS MOVING COMPANY.LLC                    1/20/2021         38    $168,406       $421,015
                                               Total First Draw PPP(MAGEE Entities)         $2,502,569

          34,     The numbers of employees and monthly payroll for each entity above were all
  materially inflated,in some cases vastly, causing TD Bank to part with the money indicated above.
          35.     Using the same manner and means as he had for obtaining M.G.'s second draw

 PPP loan,MAGEE fraudulently obtained the following second draw PPP loans for his own entities

  by falsely inflating niunbers ofemployees,fabricating payroll figures, and falsely showing at least

 a 25% decline on quarterly gross revenue from 2019 to 2020, as indicated in the table below:

                                                      Appl.                  Monthly     2nd Draw PPP
                     Company                                      #Emps
                                                      Date                   Payroll       Loan Amt
  INFINITY SOLUTIONS GROUP LLC                     1/19/2021       13        $54,658        $136,645
  UNITED SPORTSPLEX,LLC/ELITE SPORTS                2/9/2021       21        $62,583        $150,000
  CLEVERFUZE,LLC                                    2/1/2021       16        $60,764        $150,000
  MINORITY OWNED BUSINESS COALITION                2/13/2021       37        $231,892       $579,730
  UNITED BASKETBALL ASSOCIATION.LLC                 2/5/2021       22        S63,597        $150,000
  BOUNCE MANIA,LLC                                  2/2/2021       38        $70,715        $150,000
                                           Total Second Draw PPP(MAGEE Entities)           $1,316,375

          36.    The numbers of employees and monthly payroll for each entity above were all
 materially inflated,in some cases vastly, causing TD Bank to part with the money indicated above.

          37.    Just from the applications for his own entities, MAGEE wrongfully derived

 $3,818,944 from TD Bank and $854,000 directly from the SBA as a result of the scheme to

 defraud. This is in addition to the $620,000 in proceeds he had derived from M.G., described
 above.


          38.    MAGEE used a portion ofthe proceeds ofthe scheme to invest in crypto currency,
 to pay private secondary school tuition, and to pay for private university tuition for his children.
 MAGEE would also pay himself and family members money via Intuit QuickBooks payroll.



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  MAGEE purchased cars, and made E-Trade investments with the proceeds. MAGEE also made
  substantial mortgage pajmients on his residence, which was in pre-foreclosure prior to MAGEE's

  receipt ofPPP funds.

                      Fraudulent PPP Loansfor Entities Associated with J.S.

         39.      MAGEE also fraudulently obtained first round PPP loans for the following entities

  associated with J.S., by using the same manner and means to execute the scheme,described above:

                                                                                        1st Draw PPP
                  Company                     Appl. Date   # Emps    Monthly Payroll
                                                                                          Loan Amt

   GREEN TEAM LIMOUSINE                        5/5/2020      6           $20,229           $50,000
   BLACK HAT TRANSPORTATION.LLC               5/15/2020      7           $98,291          $245,727
   SLAIBY7 INVESTMENTS,LLC                    5/26/2020      10         $137,273          $343,182
   HEALTH N WEALTH WORLD,LLC                  3/24/2021      13        $60,724            $151,810
                                                   Total Rrst Draw PPP(J.S. Entities)     $790,719

         40.      The numbers of employees and monthly payroll for each entity above were all

  materially inflated,in some cases vastly, eausing TD Bank to part with the money indicated above.

         41.      MAGEE fraudulently obtained second round PPP loans for the following entities

 associated with J.S., by using tlie same manner and means to execute the scheme,described above:

                                                                                           Draw PPP
                  Company                     Appl. Date   #£mps    Monthly Payroll
                                                                                          Loan Amt
  GREEN TEAM LIMOUSINE                        2/13/2021     14          $46,087           $115,217
  BLACK HAT TRANSPORTATION, LLC               3/16/2021     15          $98,291           $245^727
  SLAIBY7 INVESTMENTS.LLC                     2/19/2021     30          $137,273          $343,182
                                                 Total Second Draw PPP(J.S. entities)     $704,126

        42.      The numbers of employees and monthly payroll for each entity above were all
 materially inflated,in some cases vastly, causing TD Banlr to part with the money indicated above.
        43.      MAGEE fraudulently caused TD Bank to part with $1,494,845 in PPP loan

 proceeds for entities associated with J.S.

        44.      MAGEE had access to the bank accounts associated with J.S.'s business entities.




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  J.S. used the PPP loan proceeds to pay a home loan, to invest in the stock market, to invest in
  crypto currency, and to pay for vacation expenses. J.S. loaned a portion of the PPP loan proceeds
  to Bull Run Capital, which MAGEE owned.

                                       Loan Forgiveness Fraud

         45.      From approximately March 8, 2021 through at least September 27, 2021,
  MAGEE, in the Eastern Distiict of Virginia and elsewhere, submitted applications for loan
  forgiveness for many ofthe loans described above. In each case, MAGEE drafted the forgiveness
  application and falsely certified that the PPP money had been used either solely for payroll or for
  authorized purposes such as payroll, rent and utilities. MAGEE also continued to materially inflate
  the numbers ofemployees to whom each company had purportedly paid payroll.In some instances,
  MAGEE created additional false documentation to supply along with the forgiveness application
  to make it appear as ifthe funds were used as required by tlie program. MAGEE falsified TD Bank

 statements to show that funds were used for rent or utilities and supplied updated false payroll
 summaries.

         46.      Relying on these false representations and false certifications, the SBA forgave 11
 of the first and second draw PPP loans. Those loans, therefore, did not have to be paid back by
 MAGEE,J.S., orM.G. The forgiven loans totaled $1,263,011.

        47.      For the 13 PPP loans that were not forgiven by the SBA totaling $4,878,928, the
 borrower was required to repay the loan balance with 1% interest. MAGEE,J.S. and M.G. were
 sent notices of default for these unforgiven loans. The defaulted loans have not been repaid and
 arc delinquent. Six of the 13 delinquent PPP loans were "charged off' by the SBA. If a borrower
 becomes more than 60 days past due, the SBA will provide the guaranty on the loan to the lender
 and charge off the loan. Charge off does not affect the SBA's rights against tlie delinquent


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  borrower.


                             State Unemployment Insurance Collections

         48.      From April 4, 2020 through July 25, 2020, MAGEE received 17 weeks of

  unemployment payments through claims submitted to the Virginia Employment Commission,for
  a total of$16,626 in unemployment payments remitted to his Bull Run Capital investments, LLC

  bank account at TD Bank.

                                   *                 ♦           *



        49.      In sum, MAGEE's scheme to defraud caused TD Bank to disburse a total of

 $6,765,379 in PPP loans, and the SBA to part with $854,000 in EIDL loans, for a total actual loss

  of$7,619,379. MAGEE personally derived approximately $5,292,944 from this fraud scheme.

        50.      This Statement of Facts includes those facts necessary to support the plea

 agreement between the defendant and the United States. It does not include each and every fact
 known to the defendant or to the United States, and it is not intended to be a full enumeration of

 all ofthe facts surrounding the defendant's case.

        51.      MAGEE also does not contest any of the factual allegations contained in the

 Criminal Information.

        52.      Furthermore, this statement of facts is an admission of the defendant that can be

 used in subsequent court proceedings against him. This statement of facts does not constitute and

 are not part of compromise negotiations under Fed. R. Evid. 410 or any other provision offederal

 law. As such,the defendant agrees that tliis statement offacts should not be excluded or suppressed
 under Fed. R.Evid. 410, Fed. R. Crim. P. 11(f), the Sentencing Guidelines or any other provision
 of the Constitution or federal law.




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         53.      The actions of the defendant, as recounted above, were in all respects knowing

  and deliberate, and were not committed by mistake, accident, or other innocent reason.


                                                Respectfully submitted,

                                                Jessica D. Aber
                                                  lited States Attorney


   Date: May 12.2023                      By:
                                                Russell L. Carlbeig
                                                Assistant United States Attorney




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         After consulting with my attorney and pursuant to the plea agreement entered into this day
  between the defendant, BENNIE EARL MAGEE,and the United States, I hereby stipulate that

  the above Statement of Eacts is true and accurate, and that had the matter proceeded to trial, the

  United States would have proved the same beyond a reasonable doubt.



                                               BENNIE EARL MAGEE



         I am Stuart Sears, defendant's attorney. I have carefully reviewed the above Statement of

  Facts with him. To my knowledge, his decision to stipulate to these facts is an informed and

  voluntary one.




                                               Sluary^t^rs, Esq.<
                                                  <mey for BENNIE EARL MAGEE




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